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                                                                         FILED
                                                                                            IN OPEN COURT


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                      IN THE UNITED STATES DISTRICT COURT FOR THE
                                                                                       CLERK. U.S. DISTRICT COURT
                                                                                          fli FXAKDRIA. VIRGINIA

                              EASTERN DISTRICT OF VIRGINIA


                                        Alexandria Division


UNITED STATES OF AMERICA


                 V.                                   Criminal No. l:19-CR-334


TAO LIU,                                              Hon. Leonie M. Brinkema


                 Defendant.


                              CONSENT ORDER OF FORFEITURE

          WHEREAS,on April 14, 2021, the defendant, Tao Li, pleaded guilty to Counts Three

and Eight ofthe Superseding Indictment. Count Three charges the defendant with conspiracy to

commit money laundering, in violation of Title 18, United States Code, Section 1956(h), and

Count Eight charges the defendant with bribery of a public official, in violation of Title 18,

United States Code, Section 201(b)(1). The defendant further agreed to the entry of a forfeiture

money judgment and property that is the subject of tliis order offorfeiture;

          WHEREAS,the defendant obtained at least $14,500 during his participation in the

conspiracy to commit money laundering, an amount for which the defendant will be solely
liable;

          AND WHEREAS,the defendant agrees to waive the provisions of Federal Rules of

Criminal Procedure 1 l(b)(l)(J), 32.2(a), 32.2(b)(4) and 43(a) with respect to notice in the
Superseding Indictment that the government will seek forfeiture as part of any sentence in this
case, and that entry of this order shall be made a pail ofthe sentence, in or out of the presence of
the defendant, and included in the Judgment in this case without further order of the Court.
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       NOW,THEREFORE,IT IS HEREBY ORDERED,ADJUDGED AND DECREED

THAT:


       1. The United States of America shall have a forfeiture money judgment, pursuant to

Fed. R. Grim. P. 32.2(b)(1)&(2), and 18 U.S.C. § 982(a)(1), against the defendant, Tao Liu,for

$ 14,500, an amount that represents the sum involved in Count Three ofthe Superseding

Indictment, and an amount for which the defendant shall be solely liable.

       2.   The United States of America may collect said judgment by all available means,

including but not limited to the forfeiture of direct proceeds and substitute assets. The defendant

stipulates and the Court finds that the requirements of21 U.S.C. § 853(p)(I) have been met.

       3. Pursuant to Fed. R. Crim. P. 32.2(b)(3), upon entry ofthis order, the United States is

authorized to conduct any appropriate discovery including depositions, interrogatories, requests

for production of documents and for admissions, and pursuant to Fed. R. Civ. P. 45, the issuance

ofsubpoenas.

       4. In satisfaction ofthe forfeiture money judgment, the following assets are forfeited to

the United States of America, pursuant to 21 U.S.C. § 853(p), as substitute assets for the sum

involved in Count Three ofthe Superseding Indictment:

            a. Approximately $995 USD ($1000 USDT)voluntarily surrendered by the
                 defendant to law enforcement on June 7,2020;

            b. Approximately $3,981 USD ($4,000 USDT)voluntarily surrendered by the
                 defendant to law enforcement on June 11, 2020;

            c. Approximately $3,000 USD voluntarily surrendered by the defendant to law
                 enforcement on July 5, 2020;

            d. Approximately $2,000 USD voluntarily surrendered by the defendant to law
                 enforcement on July 6, 2020; and

            e. Approximately $4,488 USD ($4,500 USDT)voluntarily surrendered by the
                defendant to law enforcement on October 10, 2020.
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        5. The Attorney General, Secretary of Homeland Security, Secretary or the Treasury, or

a designee, is hereby authorized to seize, inventory, and otherwise maintain custody and control

ofthe property, whether held by the defendant or by a third party, and to conduct any discovery

proper in identifying, locating or disposing ofthe property subject to forfeiture pursuant to Fed.

R. Grim. P. 32.2(b)(3) and 21 U.S.C. § 853(g).

       6. The United States shall publish notice of this order and of its intent to dispose ofthe

property in such manner as the Attorney General may direct, including publication on the

Government's Internet site, www.forfeiture.gov.for 30 consecutive days, and to the extent

practicable, provide direct written notice to any persons known to have alleged an interest in the

property pursuant to Fed. R. Grim. P. 32.2(b)(6) and 21 U.S.G.§ 853(n)(l)&(2).

        7. This Order of Forfeiture is final as to the defendant, and shall be made part of the

defendant's sentence and included in the Judgment in this case pursuant to Fed. R. Grim. P.

32.2(b)(4).

        8. Any person, other than the defendant, asserting any legal interest in the property may,

within thirty (30) days ofthe final publication of notice or his receipt of notice, whichever is

earlier, petition the court for a hearing to adjudicate the validity ofthe alleged interest in the

property pursuant to Fed. R. Grim. P. 32.2(c)(1) and 21 U.S.G.§ 853(n)(2).

       9. If no third party files a timely petition, this Order shall become the Final Order of

Forfeiture, and the United States shall have clear title to the property and may warrant good title
to any subsequent purchaser or transferee pursuant to Fed. R. Grim. P. 32.2(c)(2) and 21 U.S.G.§
853(n)(7).
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          10. Ifthis Court grants any third-party rights, a Final Order of Forfeiture that amends this

Order as necessary to account for said third party rights, shall be entered pursuant to

Fed. R. Grim. P. 32.2(c)(2) and 21 U.S.C.§ 853(n)(6).

Date:




WE ASK FOR THIS:
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          Raj Parekh
          Acting United States Attorney
                                                                 Leonie M. Bzinkema
                                                                 United States District Judge   ■ilinf

By:
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Tao Liu
Defendant




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      .msel for the Defendant
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